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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                                GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                              CASE NO. 1:03-cr-00056-MP-AK

ROBERT JAMES STEWART, JR,

      Defendant.
___________________________/

                                            ORDER

       This matter is before the Court on Doc. 467, Motion to reconsider this Court's prior order

(Doc. 464) denying a reduction of sentence under 18 U.S.C. § 3582. Having reviewed Mr.

Stewart's present motion, the Court finds no argument that justifies holding Mr. Stewart

responsible for less than 4.5 kilograms of crack cocaine. Accordingly, he still qualifies for the

highest base offense level, and the amendment thus does not lower the guideline range

applicable to this defendant. Guidelines § 1B1.10(a)(1) does not permit the Court to reduce the

original sentence in this situation.

       Accordingly it is hereby

       ORDERED AND ADJUDGED:

       1.      The motion to reconsider at Doc. 467 is denied.

       DONE AND ORDERED this 29th day of December, 2008


                                        s/Maurice M. Paul
                                   Maurice M. Paul, Senior District Judge
